
666 S.E.2d 647 (2008)
ST. JOHN CHRISTIAN HOLINESS CHURCH OF GOD, Christian Holiness Church of God, Inc., Rev. Lenole Brown
v.
Bishop Charles D. HINES, Sr., Armagene B. Ellis-Smith, Catherine Hairston Hines, and Kathy McLeod.
No. 139P08.
Supreme Court of North Carolina.
August 26, 2008.
Armagene B. Ellis-Smith, Pro Se.
Charles Hines, Sr., Pro Se.
Calvin Hamrick, for St. John Church, et al.


*648 ORDER

Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendants (Hines &amp; Ellis-Smith) on the 1st day of April 2008 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 1st day of April 2008 by Defendants (Hines &amp; Ellis-Smith) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 1st day of April 2008 by Defendant in this matter for mandatory review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-30, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed ex mero motu by order of the Court in conference, this the 26th day of August 2008."
